                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 GEORGE GLEN WHITAKER,                            )
                                                  )
               Appellant,                         )
                                                  )
 v.                                               )       No.:   3:08-CV-411
                                                  )              (VARLAN/SHIRLEY)
 THOMAS M. KOENIG and                             )
 ANNA M. KOENIG,                                  )
                                                  )
               Appellees.                         )


                               MEMORANDUM OPINION

        Appellant George Glen Whitaker has appealed the United States Bankruptcy Court

 for the Eastern District of Tennessee’s (the “Bankruptcy Court’s”) Memorandum Opinion

 [Doc. 1-12] entitling Appellees Thomas M. Koenig and Anna M. Koenig to a judgment

 against appellant that is nondischargeable under 11 U.S.C. §§ 523(a)(2)(A) and (a)(6).

 Appellant argues in his Brief of Appellant [Doc. 5] that the Bankruptcy Court erred in

 finding that appellees were entitled to judgment under §§ 523(a)(2)(A) and (a)(6), and in

 permitting appellees to recover on facts and theories that they did not plead. Appellees

 contend in their Brief of Appellees Thomas M. Koenig and Anna Marie Koenig [Doc. 7] that

 the Bankruptcy Court was correct in finding the judgment at issue to be nondischargeable

 pursuant to §§ 523(a)(2)(A) and (a)(6). In his Reply Brief of Appellant [Doc. 8], appellant

 contests several purported oversights and irrelevancies in appellees’ brief.




Case 3:08-cv-00411-TAV-CCS         Document 10 Filed 09/30/09         Page 1 of 19    PageID
                                         #: 269
          The Court has carefully reviewed the parties’ briefs in light of the entire record and

 controlling law. For the reasons set forth below, the decision of the Bankruptcy Court will

 be affirmed.

 I.       Procedural History

          On November 20, 2007, appellees filed a Complaint with the Bankruptcy Court [See

 Docs 1-1, 1-17]. On June 25, 2008, appellees filed a Motion to Amend Complaint [See Docs.

 1-4, 1-17 ], to which appellant objected on July 8, 2008 [See Docs. 1-7, 1-17 ]. On July 10,

 2008, the Bankruptcy Court denied appellees’ motion to amend [See Docs. 1-9, 1-17]. On

 August 27, 2008, the Bankruptcy Court awarded a nondischargeable judgment to appellees

 in the amount of $45,000.00 plus prejudgment interest [See Docs. 1-11, 1-17]. The

 Bankruptcy Court then issued a memorandum opinion setting forth the reasons for its

 judgment on September 15, 2008 [See Docs. 1-12, 1-17].

          Appellant filed a Notice of Appeal on September 5, 2008 [See Docs 1-14, 1-17]. The

 parties have since submitted briefs in support of their respective positions. The matter is now

 ripe for the Court’s consideration.

 II.      Relevant Facts1

          Appellant operated a construction business as a sole proprietorship until August 2005

 when he incorporated Glen Whitaker Building Company, Inc. (“GWBCI”). Appellant was

 the president and sole shareholder of GWBCI, and was in personal control of GWBCI


          1
           These facts, unless otherwise indicated, were stipulated to by the parties as undisputed [Doc.
 1-10].

                                                    2


Case 3:08-cv-00411-TAV-CCS              Document 10 Filed 09/30/09             Page 2 of 19       PageID
                                              #: 270
 throughout 2005 and 2006. GWBCI has never filed a federal income tax return. On August

 20, 2007, appellant filed a Chapter 7 Voluntary Petition. On August 21, 2007, appellant filed

 a Certificate of Administrative Dissolution of GWBCI with the Secretary of State for the

 State of Tennessee.

        Appellees entered into a residential construction contract (the “contract”) with

 GWBCI dated January 23, 2006, for the construction of a home on Beals Chapel Road in

 Loudon County, Tennessee (the “building site”). On March 3, 2006, appellees made a

 $60,000.00 payment pursuant to the terms of the contract. On May 18, 2006, appellant

 requested a second $60,000.00 payment from appellees. Appellant told one or both appellees

 that there were large upcoming expenses, and that he needed the monies to pay for materials

 and/or to pay subcontractors on appellees’ project. Appellees made the second $60,000.00

 payment, which was deposited in GWBCI’s checking account on May 19, 2006. GWBCI

 did not enter into any new contracts for residential construction on or after May 1, 2006.

        On or about October 13, 2006, some months after appellant told appellees that he

 would not be able to complete the construction of their home at the building site, appellees

 filed a complaint in Knox County Chancery Court seeking recovery from GWBCI and

 appellant. On or about March 15, 2007, appellees and appellant agreed to a continuance of

 the Chancery Court trial date, and a 90-day stay of discovery, in return for a payment of

 $15,000.00 from appellant to appellees. The parties agreed that this payment would apply

 to any debt of appellant and/or GWBCI to appellees which might be determined to be



                                              3


Case 3:08-cv-00411-TAV-CCS         Document 10 Filed 09/30/09          Page 3 of 19    PageID
                                         #: 271
 nondischargeable in bankruptcy. The Chancery Court lawsuit was thereafter scheduled for

 trial on August 23, 2007.

        At his August 14, 2007 deposition taken in connection with the Chancery Court case,

 appellant testified that, when he received the second $60,000.00 payment from appellees, he

 was “paying the supplier that yelled the loudest.” In addition, at the October 19, 2007

 meeting of creditors, appellant testified that (a) his construction business of twenty years was

 “going down the tubes” in the spring of 2006, by which he meant February and March 2006;

 (b) he had no clue what percentage of the appellees’ project was complete at the time he

 requested the second $60,000.00 payment from appellees; and (c) no work was done by

 GWBCI at the building site after receipt of the second $60,000.00 payment on May 19, 2006.

 III.   Standard of Review

        The bankruptcy court makes the initial findings of fact and conclusions of law.

 WesBanco Bank Barnesville v. Rafoth (In re Baker & Getty Fin. Servs.), 106 F.3d 1255, 1259

 (6th Cir. 1997). This Court then reviews the bankruptcy court’s findings of fact for clear

 error and the bankruptcy court’s conclusions of law de novo. Id. (citing Fed. R. Bankr. P.

 8013) (“Findings of fact, whether based on oral or documentary evidence, shall not be set

 aside unless clearly erroneous, and due regard shall be given to the opportunity of the

 bankruptcy court to judge the credibility of the witnesses.”). “On an appeal the district court

 . . . may affirm, modify, or reverse a bankruptcy judge’s judgment, order, or decree or

 remand with instructions for further proceedings.” Fed. R. Bankr. P. 8013.



                                                4


Case 3:08-cv-00411-TAV-CCS          Document 10 Filed 09/30/09           Page 4 of 19     PageID
                                          #: 272
 IV.    Analysis

        Appellant raises three arguments in his brief. First, he argues that the Bankruptcy

 Court erred in finding that appellees were entitled to judgment under 11 U.S.C. §

 523(a)(2)(A). Next, he argues that the Bankruptcy Court erred in finding that appellees were

 entitled to judgment under 11 U.S.C. § 523(a)(6). Finally, appellant argues that the

 Bankruptcy Court erred in permitting appellees to recover on facts and theories that they did

 not plead.2 The Court considers each of these arguments in turn.

        A.      Whether the Bankruptcy Court Erred in Finding that Appellees Were
                Entitled to Judgment Under 11 U.S.C. § 523(a)(2)(A)

        11 U.S.C. § 523(a)(2)(A) provides, in pertinent part, that

        [a] discharge under section 727 . . . of this title does not discharge an
        individual debtor from any debt (2) for money, property, services, or an
        extension, renewal, or refinancing of credit, to the extent obtained by (A) false
        pretenses, a false representation, or actual fraud, other than a statement
        respecting the debtor’s or insider’s financial condition . . . .

 The party seeking a determination of nondischargeability bears the burden of proving the

 necessary elements by a preponderance of the evidence. Rembert v. AT&T Universal Card

 Servs. (In re Rembert), 141 F.3d 277, 281 (6th Cir. 1998).



        2
          Appellees argue in their brief that appellant is personally “liable for his own conduct even
 though the Contract is between [appellees] and GWBCI” [Doc. 7]. Appellant does not contest that
 issue in either his initial brief [Doc. 5] or his reply brief [Doc. 8]. Moreover, the Bankruptcy Court
 explicitly addressed this issue in its ruling, and found it to be uncontested:
                  [I]t is undisputed that all actions complained of by [appellees] are
                  attributable directly to [appellant] in his conduct of business under
                  [GWBCI], and [appellant] does not attempt to use the [GWBCI]
                  corporate veil to escape liability . . . .” [Doc. 1-12].
 Accordingly, this Court need not address this issue here.

                                                   5


Case 3:08-cv-00411-TAV-CCS            Document 10 Filed 09/30/09             Page 5 of 19       PageID
                                            #: 273
        To satisfy the burden of proof under § 523(a)(2)(A), appellees must prove by a

 preponderance of the evidence:

        (1)    That appellant obtained money, property, or services through material

               misrepresentations which appellant knew were false or were made with gross

               recklessness;

        (2)    That appellant intended to deceive appellees;

        (3)    That appellees justifiably relied upon appellant’s false representations; and

        (4)    That their reliance was the proximate cause of their loss.

 Id. at 280-81. Section 523(a)(2)(A) is construed strictly against the party seeking a

 determination of nondischargeability. Id. at 281.

        The Bankruptcy Court found that appellees satisfied their burden with respect to each

 of these four elements. This Court evaluates whether the Bankruptcy Court committed clear

 error in finding for appellees on each element.

        1.     Obtaining Money, Property, or Services Through Material
               Misrepresentations Which Appellant Knew Were False or Were Made
               with Gross Recklessness

        To prevail on the first element of their claim, appellees must prove that appellant

 obtained money, property, or services through material misrepresentations which appellant

 knew were false or were made with gross recklessness. “Material misrepresentations” are

 “substantial inaccuracies of the type which would generally affect a lender’s or guarantor’s

 decision.” Haney v. Copeland (In re Copeland), 291 B.R. 740, 761 (Bankr. E.D. Tenn. 2003)



                                              6


Case 3:08-cv-00411-TAV-CCS        Document 10 Filed 09/30/09          Page 6 of 19     PageID
                                        #: 274
 (quoting Candland v. Ins. Co. of N. Am. (In re Candland), 90 F.3d 1466, 1470 (9th Cir.

 1996)).

        The Bankruptcy Court considered this issue in detail in its opinion, noting first that

 it was “undisputed and, in fact, stipulated” that appellant represented to appellees the purpose

 of the $60,000.00 payment made on May 19, 2006.3 Paragraph 4 of the parties’ stipulation

 agreement indicates that appellant told appellees that “there were large upcoming expenses”

 and that he “needed the monies to pay for materials and/or to pay subcontractors” on

 appellees’ project [Doc. 1-10]. The Bankruptcy Court went on to explain, however, that at

 the time appellant deposited appellees’ $60,000.00 into his checking account, the account

 balance was $25,835.13. Deposit of appellees’ $60,000.00 thus brought the total balance to

 $85,835.13. Later that day, three bank drafts totaling $61,904.00 were issued by appellant

 in payment of invoices attributable to expenses incurred on construction projects unrelated

 to appellees’ project.4 The account balance at the end of the day on May 19, 2006, was

 $23,931.13.5

        The Bankruptcy Court then found that two more drafts, both dated May 19, 2006,

 cleared appellant’s account on May 22, 2006, leaving a closing balance on May 22 of

 $9,581.13. On May 23, 2006, four more drafts dated May 19, 2006 cleared appellant’s


        3
         All findings referenced herein are reflected in the opinion of the Bankruptcy Court [Doc.
 1-12] unless otherwise indicated.
        4
          One additional draft for $100.00 also cleared appellant’s account on May 19. It was not
 established when or to whom that draft was issued.
        5
           The Bankruptcy Court opinion erroneously lists this figure as “$23,391.13.”

                                                  7


Case 3:08-cv-00411-TAV-CCS            Document 10 Filed 09/30/09           Page 7 of 19    PageID
                                            #: 275
 account, leaving a closing balance on May 23 of $1,358.23.6 No deposits other than

 appellees’ $60,000.00 were made to appellant’s account between May 19, 2006 and May 23,

 2006.

         The Bankruptcy Court considered all of this evidence in determining that appellant

 obtained the $60,000.00 May 19, 2006 payment from appellees by representing to them that

 appellant intended to use that $60,000.00 for expenses related to appellees’ project, when in

 fact appellant knew that he planned to use that $60,000.00 to pay expenses wholly unrelated

 to appellees’ project.    The evidence in the record fully supports this determination.

 Accordingly, this Court finds that the Bankruptcy Court committed no error in finding for

 appellees on the first element of their claim.

         2.     Intent to Deceive

         To prevail on the second element of their claim, appellees must prove that appellant

 intended to deceive appellants through his misrepresentation. A debtor intends to deceive

 a creditor “when the debtor makes a false representation which the debtor knows or should

 have known would induce another to advance goods or services to the debtor.” Haney, 291

 B.R. at 765-66 (quoting Bernard Lumber Co. v. Patrick (In re Patrick), 265 B.R. 913, 916

 (Bankr. N.D. Ohio 2001)). The bankruptcy court “must consider whether the totality of the

 circumstances ‘presents a picture of deceptive conduct by the debtor which indicates an

 intent to deceive the creditor.’” Haney, 291 B.R. at 766 (quoting Wolf v. McGuire (In re


         6
         As on May 19, the date of issuance and the payee of one of these drafts, for $272.90, were
 not established at trial.

                                                  8


Case 3:08-cv-00411-TAV-CCS           Document 10 Filed 09/30/09           Page 8 of 19      PageID
                                           #: 276
 McGuire), 284 B.R. 481, 492 (Bankr. D. Colo. 2002)). Any benefit of the doubt must be

 resolved in favor of the debtor. XL/Datacomp v. Wilson (In re Omegas Group), 16 F.3d

 1443, 1451 (6th Cir. 1994).

          In their complaint, appellees invoke Tennessee Code Annotated § 66-11-140, which

 provides that:

          use of the proceeds [of payments made to a contractor] . . . for any purpose
          other than either payment pursuant to written agreement between the parties
          or in accordance with the allocation of costs and profits under generally
          accepted accounting principles for construction projects shall be prima facie
          evidence of intent to defraud.

 Notably, “[u]se of a single business bank account for multiple projects shall not be evidence

 of intent to defraud. Id. This presumption is not considered in determining dischargeability

 to the extent it conflicts with federal law. In re Mettetal, 41 B.R. 80, 87 (Bankr. E.D. Tenn.

 1994).

          The Bankruptcy Court made two related findings on the issue of intent to deceive,

 neither of which is clearly erroneous. First, after weighing all the evidence, it found that

 appellant never intended to use the $60,000.00 he procured from appellees to pay for

 expenses related to appellees’ project. Relying primarily on the timing of the deposits and

 withdrawals into and out of appellant’s bank account, the Bankruptcy Court found instead

 that appellant’s representation was “nothing more than a ploy” by appellant to induce




                                               9


Case 3:08-cv-00411-TAV-CCS          Document 10 Filed 09/30/09         Page 9 of 19       PageID
                                          #: 277
appellees into providing him with the funds necessary to pay suppliers who were, in

appellant’s words, “yell[ing] the loudest.”7

       Second, the Bankruptcy Court found that, even were appellant correct in calculating

the value of his labor on appellees’ project after the May 19, 2006 payment, it would do

nothing to vitiate appellant’s intent to deceive appellees for the purposes of the statute.

Appellant knowingly obtained the $60,000.00 payment from appellees, not to pay expenses

related to their project, but to pay past-due invoices on jobs “wholly unrelated” to appellees’

project. The Bankruptcy Court stated this finding in the plainest of terms: “The falsity of

[appellant’s] representation to [appellees] that he needed the second $60,000.00 to pay

expenses on their project is irrefutable” [Doc. 1-12]. Accordingly, this Court finds that, even

giving the benefit of the doubt to appellant, the Bankruptcy Court committed no error in

finding for appellees on the second element of their claim.

       3.      Justifiable Reliance on Appellant’s False Representations

       To prevail on the third element of their claim, appellees must prove that they actually

relied on appellant’s representations and, based upon the facts and circumstances known to

them at the time, that their reliance was justifiable. Haney, 291 B.R. at 767. A creditor will



       7
          It is important here not to mischaracterize the reasons the Bankruptcy Court provides for
its ruling on this point. The fact that appellant used only one bank account for multiple projects does
not suffice, by itself, to evidence intent to defraud. Instead, the fact that appellant represented to
appellees that he intended to use their $60,000.00 to pay for expenses related to their project; that
he drew upon these funds in order to pay expenses unrelated to appellees’ project in such close
temporal proximity to depositing these funds; and the fact that this was all coupled with the failure
of appellant’s business, together supplied the basis on which the Bankruptcy Court made its finding
on the intent element.

                                                  10


   Case 3:08-cv-00411-TAV-CCS              Document 10        Filed 09/30/09       Page 10 of 19
                                           PageID #: 278
be found to have justifiably relied on a representation even where that creditor “might have

ascertained the falsity of the representation had he made an investigation.” Id. (quoting

Commercial Bank & Trust Co. v. McCoy (In re McCoy), 269 B.R. 193, 198 (Bankr. W.D.

Tenn. 2001).

       The Bankruptcy Court found that appellees were justified in relying upon appellant’s

representations. At trial, appellees testified that they believed appellant to be trustworthy and

easy to work with, and that they had chosen him to build their home after interviewing him

and others in January 2006. Appellee Dr. Thomas M. Koenig testified that appellees had

discussed with appellant the number of homes he had previously constructed, along with the

number of homes he currently had under construction, prior to entering into their January

2006 contract. Dr. Koenig also testified that appellant represented to appellees that he was

“quite experienced” in building homes the size of appellees’ home. Appellees both testified

that appellant had assured them prior to their making the May 19, 2006 payment that these

funds were needed to complete their job. Finally, both appellees testified that neither of them

had any significant problem with appellant prior to making the May 19, 2006 payment.

       The evidence in the record fully supports the Bankruptcy Court’s determination that

appellees were justified in relying upon appellant’s representations. Accordingly, this Court

finds that the Bankruptcy Court committed no error in finding for appellees on the third

element of their claim.




                                               11


   Case 3:08-cv-00411-TAV-CCS           Document 10        Filed 09/30/09     Page 11 of 19
                                        PageID #: 279
       4.      Proximate Cause

       To prevail on the final element of their claim, appellees must prove that their reliance

on appellant’s misrepresentation was the proximate cause of their loss. This requires a

“direct link between the alleged fraud and the creation of the debt.” Haney, 291 B.R. at 768.

There is no question that, had appellees not relied upon the misrepresentations of appellant,

appellees would not have made the May 19, 2006 payment. Accordingly, this Court finds

that the Bankruptcy Court committed no error in finding for appellees on the fourth element

of their claim.

       In sum, this Court finds that the Bankruptcy Court committed no error in finding that

appellees satisfied their burden of proof with respect to each of the elements of their §

523(a)(2)(A) claim. Accordingly, this Court will affirm the Bankruptcy Court’s decision,

and dismiss appellant’s claim with respect to § 523(a)(2)(A).

       B.      Whether the Bankruptcy Court Erred in Finding that Appellees Were
               Entitled to Judgment Under 11 U.S.C. § 523(a)(6)

       Because this Court finds no clear error in the Bankruptcy Court’s judgment with

respect to appellant’s claim under 11 U.S.C. § 523(a)(2)(A), it need not consider appellant’s

claim under 11 U.S.C. § 523(a)(6).8 For the reasons provided below, however, this Court

will dismiss that claim as well.




       8
        Appellees can establish nondischargeability under either § 523(a)(2)(A) or (a)(6); they need
not establish nondischargeability under both in order to recover from appellant.

                                                12


   Case 3:08-cv-00411-TAV-CCS            Document 10        Filed 09/30/09      Page 12 of 19
                                         PageID #: 280
       11 U.S.C. § 523(a)(6) provides, in pertinent part, that

       [a] discharge under section 727 . . . of this title does not discharge an
       individual debtor from any debt (6) for willful and malicious injury by the
       debtor to another entity or to the property of another entity.

The party seeking a determination of nondischargeability bears the burden of proving the

necessary elements by a preponderance of the evidence. Rembert, 141 F.3d at 281. To

prevail under § 523(a)(6), appellees must prove by a preponderance of the evidence the

existence of “a deliberate or intentional injury, not merely a deliberate or intentional act that

leads to injury.” Kawaauhau v. Geiger, 523 U.S. 57, 63 (1998). It is insufficient that a

reasonable debtor “should have known” that his conduct risked injury to others. Markowitz

v. Campbell (In re Markowitz), 190 F.3d 455, 466 n.10 (6th Cir. 1999)). Rather, the debtor

must “will or desire harm, or believe injury is substantially certain to occur as a result of his

behavior.” Id.

       “An act will be deemed ‘willful’ only if it was undertaken with the actual intent to

cause injury.” Cash Am. Fin. Servs. v. Fox (In re Fox), 370 B.R. 104, 119 (B.A.P. 6th Cir.

2007). The bankruptcy court is required to look into the debtor’s mind subjectively in order

to determine whether a debtor intended to cause the consequences of his act or believed that

the consequences were substantially certain to result from his act. Monsanto Co. v. Wood

(In re Wood), 309 B.R. 745, 753 (Bankr. W.D. Tenn. 2004). “An act is ‘malicious’ if it is

undertaken ‘in conscious disregard of one’s duties or without just cause or excuse.’” Fox,

370 B.R. at 119 (quoting Wheeler v. Laudani, 783 F.2d 610, 615 (6th Cir. 1986)).

“‘Malicious’ acts do ‘not require ill-will or specific intent to do harm.’” Id. However,

                                               13


   Case 3:08-cv-00411-TAV-CCS           Document 10        Filed 09/30/09     Page 13 of 19
                                        PageID #: 281
“[m]ere negligence is not sufficient to except a debt from discharge under § 523(a)(6).” Fox,

370 B.R. at 119.

       In their complaint, appellees allege conversion of their money as the injury at issue

[Doc. 1-1]. Under Tennessee law, conversion is an intentional tort requiring proof that a

party appropriated another’s property for his own use by exercising dominion and control in

exclusion or defiance of the owner’s right to use and benefit from the property. Mammoth

Cave Prod. Credit Ass’n v. Oldham, 569 S.W.2d 833, 836 (Tenn. Ct. App. 1977). An act of

conversion may constitute willful and malicious injury if the debtor intended to cause the

harm or was substantially certain that such harm would occur. Gibbs v. Nevels (In re

Nevels), 2007 Bankr. LEXIS 2403, at *26 (Bankr. E.D. Tenn. July 9, 2007).

       In making its “willfulness” and “maliciousness” findings, the Bankruptcy Court

considered all of the evidence catalogued supra Part IV.A, as well as appellant’s “obvious

financial distress,” including the infusion of personal funds he made into GWBCI and the

money he borrowed from his mother to help keep his business afloat. The Bankruptcy Court

found appellant’s actions to be “willful” because he obtained the May 19, 2006 payment

from appellees not intending to use it for the reasons he represented to the appellees. The

Bankruptcy Court considered this sufficient evidence either of appellant’s intent to convert

appellees’ funds to his own use, or of a belief on the part of appellant that the conversion was

substantially certain to result from his act. This Court finds no error in the Bankruptcy

Court’s judgment.



                                              14


   Case 3:08-cv-00411-TAV-CCS           Document 10       Filed 09/30/09     Page 14 of 19
                                        PageID #: 282
       Based upon a consideration of the same evidence, the Bankruptcy Court found

appellant’s actions to be “malicious” because appellant undertook them in conscious

disregard of his duties to appellees without just cause or excuse. This Court finds no clear

error in the Bankruptcy Court’s judgment in finding that appellant’s actions were taken

maliciously.

       The Bankruptcy Court committed no error in finding that appellees satisfied their

burden of proof with respect to each of the elements of their § 523(a)(6) claim. Accordingly,

this Court will affirm the Bankruptcy Court’s decision, and dismiss appellant’s claim with

respect to § 523(a)(6).

       C.      Whether the Bankruptcy Court Permitted Appellees to Recover on Facts
               and Theories They Did Not Plead, and if So, Whether the Court Was in
               Error in Doing So

       Finally, appellant argues that appellees were permitted to proceed at trial with proof

of fraud that did not appear in appellees’ complaint. Appellant, however, provides few facts

to narrow the scope of this argument. This Court thus bases its review on appellant’s

objection to appellees’ motion to amend their complaint and on the objections appellant’s

counsel raised at trial.

       Federal Rule of Civil Procedure 15(a)(2) provides that “a party may amend its

pleading only with the opposing party’s written consent or the court’s leave,” but that “[t]he

court should freely give leave when justice so requires.” This Rule further provides that:

       [i]f, at trial, a party objects that evidence is not within the issues raised in the
       pleadings, the court may permit the pleadings to be amended. The court
       should freely permit an amendment when doing so will aid in presenting the

                                               15


   Case 3:08-cv-00411-TAV-CCS           Document 10        Filed 09/30/09      Page 15 of 19
                                        PageID #: 283
       merits and the objecting party fails to satisfy the court that the evidence would
       prejudice that party’s action or defense on the merits.

Fed. R. Civ. P. 15(a)(2). This Rule applies to adversarial bankruptcy proceedings by way of

Federal Rule of Bankruptcy Procedure 7015.

       At trial, appellant’s counsel argued that appellees’ original complaint made only one

allegation of fraud, which was based upon the belief that appellant performed no work on

appellees’ project after appellees made the May 19, 2006 payment [Doc. 1-13, pp. 9-10].

Appellant’s counsel raised a standing objection to any offer of proof contradicting that claim,

grounded in part on the Bankruptcy Court’s previous denial of appellees’ motion to amend

their complaint [Doc. 1-13, pp. 9-10].

       Appellant takes principal issue with two variations on appellees’ complaint, evidence

of which was offered at trial: first, that appellant represented to appellees that he intended to

place their May 19, 2006 $60,000.00 payment in a segregated account; and second, that

appellant did perform some work on their home after he received the May 19, 2006 payment.

As discussed below, because this evidence may have aided in presenting the merits, and

because none of this evidence prejudiced appellant, the Bankruptcy Court did not err in

admitting it at trial. Accordingly, this Court will affirm the Bankruptcy Court’s decision, and

dismiss appellant’s claim as to whether appellees were permitted to recover on facts and

theories they did not plead.




                                               16


   Case 3:08-cv-00411-TAV-CCS            Document 10       Filed 09/30/09     Page 16 of 19
                                         PageID #: 284
          1.     The Segregated Account

          In their original complaint, appellees made no allegation that appellant represented

to them that he intended to segregate their May 19, 2006 $60,000.00 payment [Doc. 1-1].

In their proposed amended complaint, however, appellees alleged that appellant “told

[appellees] their payments would be deposited to a separate account, but no separate account

was set up for [appellees’] payments” [Doc. 1-5]. While the Bankruptcy Court denied

appellees’ motion to amend their complaint as proposed [Doc. 1-9], it permitted Ms. Koenig

to testify at trial that appellees’ “money would be placed in a separate account” [Doc. 1-13,

p. 25].

          When counsel for appellant objected to this testimony at trial, on the grounds that it

varied from the allegations in the complaint, the Bankruptcy Court stated: “The complaint

is long gone. The complaint is a notice pleading. As far as I’m concerned, it has nothing to

do with this lawsuit” [Doc. 1-13, p. 25]. The Bankruptcy Court then overruled counsel’s

objection [Doc. 1-13, p. 25].

          This Court need not dwell on the propriety of the Bankruptcy Court’s ruling on this

issue at trial. It is not clear whether this evidence offers much aid in presenting the merits

of the case. Regardless, appellant was not prejudiced by its admission, because the question

of whether the $60,000.00 was segregated or not segregated was ultimately irrelevant to the

Bankruptcy Court’s decision. The Bankruptcy Court found that, even though nothing in the

contract required that appellant segregate appellees’ funds, appellant was nevertheless under

an obligation to use appellees’ funds as he represented [Doc. 1-12]. It did not matter, in other

                                                17


   Case 3:08-cv-00411-TAV-CCS            Document 10       Filed 09/30/09     Page 17 of 19
                                         PageID #: 285
words, that appellant did not segregate appellees’ funds, as he may or may not have

represented to them. What mattered instead was whether he used the funds as he said he

would: for work on appellees’ home. The Bankruptcy Court found ample evidence in the

record that appellant used those funds not to pay for the construction of appellees’ home, but

instead to pay expenses other than those related to the construction of appellees’ home. This

Court finds no error in the Bankruptcy Court’s decision, and notes further that even if there

were error, it was harmless.

       2.      Evidence of Construction on Appellees’ Home After May 19, 2006

       In their original complaint, appellees represented that “[a]fter the second $60,000.00

payment [the May 19, 2006 payment] was made, [appellant] did not return to the Building

Site and no more work of any substance was performed at the Building Site” [Doc. 1-1]. In

their proposed amended complaint, however, appellees alleged that “[w]hen [appellees] filed

their Complaint initiating this adversary proceeding, both they and [appellant] mistakenly

believed no work of any substance was performed at the Building Site after the second

$60,000.00 payment” [Doc. 1-5]. While the Bankruptcy Court denied appellees’ motion to

amend their complaint as proposed [Doc. 1-9], it permitted testimony related to construction

performed on appellees’ home after May 19, 2006 (Doc. 1-13, pp. 14, 21-22, 28-33, 37-41,

43, 76-78, 87-90).

       This Court need not dwell on the propriety of the Bankruptcy Court’s ruling on this

issue at trial either. In the first place, evidence of this nature potentially offers significant aid

in presenting the merits of the case. Moreover, appellant was not prejudiced by its

                                                 18


   Case 3:08-cv-00411-TAV-CCS             Document 10        Filed 09/30/09      Page 18 of 19
                                          PageID #: 286
admission, because this evidence was ultimately irrelevant to the Bankruptcy Court’s ruling.

The Bankruptcy Court found explicitly that:

        [t]he fact that [appellant] may have incurred expenses attributable to
        [appellees’] project after May 19, 2006, does not alter the fact that he obtained
        the $60,000.00 payment only upon representing to [appellees] that he needed
        it to pay existing and ‘large, upcoming expenses that he needed to have the
        money for’ on their project. It is clear that [appellant] never intended to use
        these funds to pay [appellees’] expenses.

[Doc. 1-12]. It did not matter, in other words, whether appellant actually performed

construction on appellees’ home after May 19, 2006. What mattered instead was whether

he used the funds as he said he would: to pay “large, upcoming expenses” on appellees’

project. The Bankruptcy Court found ample evidence in the record that appellant used the

funds to pay expenses other than those related to appellees’ project. This Court finds no

error in the Bankruptcy Court’s decision, and notes further that even if there were error, it

was harmless.

V.      Conclusion

        For the reasons cited above, this Court affirms the opinion of the Bankruptcy Court

in its entirety. Appellant’s appeal will be dismissed.

        An order reflecting this opinion will be entered.



                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




                                               19


     Case 3:08-cv-00411-TAV-CCS         Document 10         Filed 09/30/09   Page 19 of 19
                                        PageID #: 287
